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                      UNITED STATES DISTR ICT COURT
                        WESTERN DISTR ICT OF TEXAS
                            SAN ANTONIO DIVIS ION
Elton S. Porter III                      §
                                         §
                                         §    Civil Action No.
                                         §
v                                        §          5:18-cv-1245
                                         §
                                         §
                                         §
Medicredit, Inc.                         §
                                         §

                                     Complaint

                             ________________________
Introduction


    1. Unwanted calls to cell phone are epidemic. “Robocalls” are the number

       one consumer complaint in A merica tod ay.

    2. In 2014 the Federal Trade Commission and Federal Communications

       Commission received 1,949,603 complaints about harassing robocalls. In

       2015 complaints climbed to 2,636,477, in 2 016 it was 3,857,627 , in 2017

       the FCC alone received 4,501,967 complaints.

    3. Defendant Medicredit has a corporate policy to robocall people, even after

       they have revoked consent to rec eive auto-dialed calls.

    4. In enacting the TCPA, Senator Hollin gs, the TCPA’s sponsor, described

       auto-dialed calls as “the scourge of modern civilization . They wake us up

       in the morning; they interrupt our dinner at night; they for ce the sick and

       elderl y out of bed; they hound us until we want to rip the phone out o f the
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     wall” 137 Cong. Rec. 30, 821 (1991). The penaltie s put in place 2 7 years

     ago are insufficient to deter abusi ve robocalling.

  5. The Fair Debt Collection Practices A ct was enacted to protect consumers

     from misrepresentations by debt collectors. In enacting the FDCPA,

     Congress noted that abusive, deceptive, and unfair debt collection

     practices contributed to the number of personal ba nkruptcies, marital

     instabilit y, job loss, and invasion s of individual pri vacy.

  6. The FDCPA requires that third-part y debt collect ors make certain

     disclosures to a consumer as part of, or within five days of, their initial

     communication with the consu mer. These disclosures are required to

     include, among other information , the name of the creditor to whom the

     debt is owed. 15 U.S.C. § 1692g(a)(2).

  7. The Fifth Circuit held in that a coll ection letter is to be evaluated under an

     unsophisticated or least sophisticated standard. Goswami v. American

     Collections Enterprise, 377 F.3d 488 (5th Cir. 2004) .

  8. Plaintiff, Elton Porter, alleges Defendant Medicredit, Inc, robocall ed him

     dozens of times in clear violation of the Telephone Consumer P rotection

     Act, 47 U.S.C. § 227 et seq., and sent communications in violation the

     Fair Debt Collection Practices Act , 15 U.S.C. § 1692 et seq, and the Texas

     Debt Collection Act , and Tex. Fin. Code 392.001 et seq.


Jurisdiction & Venue


  9. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

     § 1331.
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  10. Supplemental jurisdiction for Plaintiff’s state law claims arises under 15

        U.S.C. § 1367.

  11. Venue is proper in this district and division pursuant to 28 U.S.C. §

        1391(b) as a substantial part of the events or omissions giving rise to

        Plaintiff’s claims occurred here.


Parties


  12. Plaintiff, Elton S. Porter, III, is a natural person who resides in and has

        resided near Kerrville, Kerr Count y, Texas at all times relevant to this

        action.

  13. Defendant, Medicredit, Inc. is a Missouri corporation whose primary

        business address is 111 Corporate Office Dr Ste 200 Earth City, MO

        63045-1506. It may be served with summons via its registered agent Ct

        Corporation S ystem at 1999 Bryan St., Ste. 900 Dallas, TX 75201.


Facts


  14. Medicredit regularl y collects, and attempts to collect, defaulted debts

        which were incurred, or all eged to have been incurred, for personal,

        famil y, or household purposes on behalf of others using the U.S. Mail,

        telephone, and internet.

  15. The principal purpose of Medicredit is the collection of such debts.

  16. The Debt is a defaulted debt that Porter used for personal, famil y, and

        household purposes (the “Debt”).
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17. In February 2017, Porter received treat ment for a heart atta ck at Sid

   Peterson Hospital in Kerrville , Texas.

18. After he was sedated and stabilized, he was taken, by helicopter , to a

   hospital in San A ntonio.

19. He was further treated in San Antonio, and within about 30 hours of

   arriving in San Antonio, he was discharged.

20. Soon after arriving back home, Porter received communication s from Air

   Methods Corporation and Rocky Mountain Holdings alleging he owed

   $52,696 for the 53 mile flight from Kerrvil le to San Antonio.

21. Porter submitted the bill to his insurance, who determined that $10, 100

   was a reasonable amount for the service provided.

22. Rock y Mountain’s invoices reflected the insura nce company’s payment.

23. In September of this year, Medic redit sent an initial c ommunication to

   Porter.

24. The initial communication is attached as Exhibit A.

25. A true and correct copy of Exhibit A is attached, except that i t has been

   redacted per Fed. R. Civ. P. 5.2.

26. The initial communication states “Creditor Name: ROCKY MOUNTAIN

   HOLDINGS, LLC .”

27. The initial communication states “Last Payment Date: 00/00/0000 ”

   indicating no payment has been made on the account .

28. Around this same time Medic redit began reporting the Debt on Port er’s

   credit report.
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  29. Medicredit’s credit reporting indi cated that the alleged Debt is owed to

     Medicredit, not Rocky Mount ain Holdings as alleged in the initial

     communication.

  30. Following the initial letter, Medicredit began a campaign of calling

     Porter’s cell phone in an attempt to collect the Debt .

  31. Medicredit placed dozens of calls, many of which began with a rec orded

     message.

  32. Porter never gave Rocky Mountain Holdings, Air Methods Corporation,

     or Medicredit consent to call his cell phone. If he did he revoked the

     consent after receiving the first call.

  33. Medicredit has a corporate policy of using an ATDS or a prerecorded or

     artificial voice message to collect debts.

  34. Medicredit has numerous other federal lawsuits pending against it all

     alleging similar violations as stated in this complaint.

  35. Medicredit’s communications were made in violat ion of the TCPA and

     deprived Port er of truthful, non-misleading information in violation of the

     FDCPA and TDCA.


First Cause of Action – Telephone Consumer Protection Act


  36. Medicredit willful l y violated the TCPA wi th respect to Porter each time

     it called him after he revoked his consent to be called by using an ATDS

     or pre-recorded voice.
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  37. Medicredit knowingly violated the TCPA with respect to Porter,

     especiall y for each of the auto-dialed calls made to h is cell phone after he

     revoked his conse nt to be called using an ATDS or pre -recorded voice.

  38. Medicredit repeatedly placed non -emergency telephone calls to Porter’s

     wireless number using an automatic telephone dialing s ystem or

     prerecorded or artificial voice without Porter’s prior express writ ten

     consent in violation of federal law , including 47 U.S.C. §

     227(b)(1)(A)(iii).

  39. As a result of Medicredit ’s illegal conduct, Plaintiff suff ered actual

     damages and, under § 227(b)(3)(B), is entitled to, inter alia, a minimum

     of $500.00 in damages for each such violation of the TCPA.


Second Cause of Action – Fair Debt Collection Practices Act


  40. Medicredit is a debt collector as defined by 15 U.S.C. § 1692a(6).

  41. The Debt is a debt as defined by 15 U.S.C. § 1692a(5).

  42. Porter is a consumer as defined by 15 U .S.C. § 1692a( 3).


  43. The initial communication is a communication as defined by 15 U.S.C. §

     1692a(2).

  44. Medicredit caused Porter’s credit report to indicate tha t the “Creditor’s

     Name” was Medicredit when the initial l etter stated it was Rock y

     Mountain Holdings. If true this communication makes the representation

     in Exhibit A that the debt is owed to Rocky M ountain Holdings false in
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     violation of 15 U.S.C. § 1692e(2)(A). If fal se this communication

     constitutes false credit reporting in violation of 15 U.S.C. § 1692e(2)(8).

  45. Medicredit ’s initial communication failed to reflect the payment that had

     been made on the alleged Debt in violation of 15 U.S.C. § 1692e(2)(a).


Third Cause of Action – Texas Debt Collection Act


  46. Porter is a consumer as defined by Tex. Fin. Code § 392.001(1).

  47. The Debt is a consumer debt as defined by Tex. Fin. Code § 392.001(2).

  48. Medicredit is a third -part y debt collector as defined by Tex. Fin. Code §

     392.001(7).

  49. Placing repeated unwanted calls is as act of debt collection as defined by

     Tex. Fin. Code § 392.001(5).

  50. Medicredit violated Tex. Fin. Code 392.302(4) b y causing Porter ’s phone

     to ring by making repe ated calls with the intent to harass him.

  51. Medicredit violated Tex. Fin. Code 392.304(4) by failing to disclose

     clearl y, in any communication, the name of the person to whom the debt

     as been assigned or i s owed.


Fourth Cause of Action – Invasion of Privacy


  52. Medicredit, through its collection activities, repeatedl y and intentionall y

     intruded Porter’s solitude, seclusion, or private affairs.
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  53. All of the calls made to his cell phone were made with an automati c

     telephone dialing system, in violation of the TCPA, would be highl y

     offensive to a reasonable person.

  54. These autodialed calls interrupted Port er’s privacy, disrupted his sleep,

     interrupted his mealtimes, and continually fr ustrated and annoyed him.


Jury Demand


  55. Plaintiff demands this case be tried before a jury.
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Prayer for Relief


Plaintiff prays, that this Court enter judgment against Defendant and in favor of

Plaintiff for:

   a. Actual damages per 15 U.S.C. § 1692 k(a)(1);

   b. Statutory damages per 15 U.S.C. § 1692k(a)(2);

   c. Attorney’s fees, costs, and litigation expenses per 15 U.S.C. § 1692

      k(a)(3);

   d. Statutory damages per 47 U.S.C. 227(b)(3) ;

   e. Actual damages per Tex. Fin. Code § 392.403(a)(2); and

   f. Attorney’s fees, costs, and litigation expenses per Tex. Fin. Code §

      392.403(b).

   g. All other relief, at law or in equit y t hat the Court may find to be just and

      proper.

                                       Respectfull y Submitted,

                                       /s/William M. Clanton
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                                       Texas Bar No. 24049436

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